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                            UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF HAWAII

   Hunter Killer Productions, Inc. et al,          )   Case No.: 1:19-cv-00168-LEK-KJM
                                                   )   (Copyright)
                        Plaintiffs,                )
       vs.                                         )   DECLARATION OF COUNSEL;
                                                   )   EXHIBITS “1” AND “2”
   Qazi Muhammad Zarlish, et al.                   )
                                                   )
                        Defendants.                )
                                                   )
                                                   )
                                                   )
                                                   )

                              DECLARATION OF COUNSEL

           KERRY S. CULPEPPER hereby declares under penalty of laws of the United

  States that the following is true and correct.

           1.      I am an attorney and represent the Plaintiffs, I have personal knowledge

  of the matters stated herein, and this declaration is given in support of Plaintiffs’

  Motion for Order Authorizing Alternate Service of Process on Defendant Hoan Pham

  filed on June 15, 2019 (“Motion”) [Doc. #21].

           2.      Exhibit “1” attached to this declaration is a true and correct copy of a

  reply email I received from Defendant Hoan Pham <hoan.pham@live.com> on June

  20, 2019.

           3.      The email address <hoan.pham@live.com> is the Internet Service



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  Provider Choopa LLC dba Vultr (“Choopa”) indicated was the email address of

  Defendant Hoan Pham. See Exhibit 1 to the Motion [Doc. #21-2].

           4.      The reply email includes an image as an attachment. Exhibit 2 attached

  to this declaration is a true and correct copy of the image. Exhibit 2 shows that

  Google Ad Sense terminated the account of Defendant Hoan Pham due to copyright

  violations.

           5.      In the last paragraph of the email, I believe Hoan Pham is referring to

  the allegations in paragraphs 114-119 of the Complaint [Doc. #1].

           6.      Exhibit 1 to the Motion [Doc. #21-2] is a document Choopa provided

  to Venice PI, LLC on Dec. 10, 2019 in response to a request for information

  regarding the customer(s) assigned Internet Protocol (“IP”) address 45.77.20.245 for

  webhosting between 11/25/2018 and 11/29/2018. The account information in the

  document indicates that the email address of Defendant Hoan Pham is

  <hoan.pham@live.com>. See pg. 1 of Exhibit 1 to the Motion [Doc. #21-2]. As

  shown in pgs. 2-3 of the document, Defendant Hoan Pham used the email address

  <hoan.pham@live.com> to communicate with Choopa. Id. at pgs. 2-3.

           7.      Exhibit 2 to the Motion [Doc. #21-3] is an email exchange between

  Defendant Hoan Pham and me from email address <hoan.pham@live.com> on

  December 10, 2018. During this conversation, Defendant Hoan Pham asserts that

  he has nothing to do with the website.

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           8.      Exhibits 3 and 4 to the Motion [Docs. ##21-4, 21-5] are true and

  accurate copies of documents Domain Registrar Namecheap provided to Venice PI,

  LLC in response to a request for information regarding the for information regarding

  the domain owner and registrant of showboxofficial.com. Exhibit 3 shows that

  Defendant Hoan Pham, while using the username hoanpv01, registered the domain

  showboxofficial.com on 9/16/2018 under the registrant name “Elizabeth Roberts”

  with the email address elizabeth.r9827@gmail.com. Exhibit 4 shows that Defendant

  Hoan Pham changed the username from hoanpv01 to username elizabethroberts on

  11/26/2018 and registered the email address elizabethr9827@gmail.com.

           10.     Exhibit 5 to the Motion [Doc. #21-6] is a true and accurate copy of an

  excerpt of an email Domain Registrar Namecheap provided to Venice PI, LLC in

  response to a request regarding the relationship between various usernames.

  Notably,         the   email   indicates   that    username     hoanpv01     registered

  showboxofficial.com and changed the username to elizabethroberts. This portion is

  reshown below.




           11.     Exhibit 6 to the Motion [Doc. #21-7] is a true and accurate copy of an

  email exchange between Defendant Hoan Pham and me from email address

  <elizabethr9827@gmail.com> on December 16, 2018. In these emails, Defendant

  Hoan Pham falsely identifies himself as Elizabeth J. Roberts.
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           12.     Exhibit 7 to the Motion [Doc. #21-8] is a true and accurate copy of an

  email      exchange     between    Defendant     Hoan   Pham     from    email   address

  hoan.pham@live.com and me on January 19-20, 2019. In this exchange Defendant

  Hoan Pham admits to controlling the website showboxofficial.com.

           13.     Exhibit 8 to the Motion [Doc. #21-9] is a true and accurate copy of a

  letter received from Margaret Boyle of FedEx via email on June 14, 2019 explaining

  the circumstances behind the unsuccessful delivery of the package including the

  complaint, summons, scheduling order (in English and Vietnamese) to Defendant

  Hoan Pham.

           14.     Exhibit 9 to the Motion [Doc. #21-9] is a true and accurate copy of an

  email I sent to Defendant Hoan Pham via address <hoan.pham@live.com> on June

  6, 2019 requesting his address information.

           I declare under the penalty of perjury that the foregoing is true and correct.




           DATED: Kailua-Kona, Hawaii, July 3, 2019.

                                      CULPEPPER IP, LLLC

                                      /s/ Kerry S. Culpepper
                                      Kerry S. Culpepper

                                      Attorney for Plaintiffs



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